         Case 2:11-cr-00922-FMO Document 833 Filed 10/14/14 Page 1 of 2 Page ID #:7376
                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                                    CRIMINAL MINUTES - TRIAL


 Case No.          CR 11-00922 (B) DDP                                                                Date        October 14, 2014
 Present: The Honorable        DEAN D. PREGERSON, U.S. DISTRICT JUDGE
 Interpreter        for defendant 9: Kathy Sim and Chinsook Kim Moore / for defendant 15: Ludmilla Genn and Anna Sosnovsky

                                                                                                      J. Lana Morton-Owens
         John A. Chambers                                Maria Bustillos                                 Grant B. Gelberg
            Deputy Clerk                      Court Reporter/Recorder, Tape                           Assistant U.S. Attorney


                 U.S.A. v. Defendant(s):              Present Cust. Bond               Attorneys for Defendants:             Present App. Ret.

DAVID JAMES GARRISON (6)                                 T        T                         Michael R. Belter                  T      T

                                                                                            Michael D. Nasatir
THEORDORE CHANGKI YOON (9)                               T                T                 Vicki I. Podberesky                T              T

ELZA BUDAGOVA (15)                                       T                T                 Dominic Cantalupo                  T      T

                                                                                      Thomas A Mesereau, Jr.
PHIC LIM (16)                                            T                T              Victor Sherman                        T              T

PERRY TAN NGUYEN (19)                                    T                T           Thomas Vincent Johnston                  T              T



         Day COURT TRIAL                                  11th     Day JURY TRIAL                                Death Penalty Phase

         One day trial;         Begun (1st day);     T    Held & continued;             Completed by jury verdict/submitted to court.

         The Jury is impaneled and sworn.

         Opening statements made

  T      Witnesses called, sworn and testified.

  T      Exhibits identified                               T       Exhibits admitted
         Government rests.                         Defendant(s)                                                                           rest.

         Motion for mistrial by                                           is            granted               denied               submitted

                  Motion for judgment of acquittal (FRCrP 29)             is            granted               denied               submitted

         Closing arguments made                                Court instructs jury                          Bailiff sworn

         Alternates excused                                    Jury retires to deliberate                    Jury resumes deliberations

         Finding by Court as follows:                                           Jury Verdict as follows:

 Dft #                 Guilty on count(s)                                       Not Guilty on count(s)

         Jury polled                                           Polling waived

         Filed Witness & Exhibit lists               Filed Jury notes              Filed Jury Instructions             Filed Jury Verdict

         Dft #            Referred to Probation Office for Investigation & Report and continued to                              for sentencing.


CR-78 (06/06)                                            CRIMINAL MINUTES - TRIAL                                                      Page 1 of 2
        Case 2:11-cr-00922-FMO Document 833 Filed 10/14/14 Page 2 of 2 Page ID #:7377
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

                                                CRIMINAL MINUTES - TRIAL


         Dft #         remanded to custody.         Remand/Release#               issd.          Dft #        released from custody.

         Bond exonerated as to Dft #

  T      Case continued to    October 16, 2014 at 9:00 a.m.,       for further trial/further jury deliberation.
  T      Other:   Defendants THEORDORE CHANGKI YOON (9) and PHIC LIM (16) are dismissed with an order to issue.
                                                                                                    2 hours       :   07 mins
                                                                      Initials of Deputy Clerk    JAC




CR-78 (06/06)                                       CRIMINAL MINUTES - TRIAL                                                Page 2 of 2
